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Exhibit A
Case 1:20-cv-00052-SPW Document 383-1 Filed 05/09/24 Page 2 of 4
                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MONTANA
                             BILLINGS DIVISION




         TRACY CAEKAERT, and CAMILLIA MAPLEY,

                     Plaintiffs,

         v.                               Cause No. CV 20-52-BLG-SPW

         WATCHTOWER BIBLE AND TRACT SOCIETY
         OF NEW YORK, INC., WATCH TOWER
         BIBLE AND TRACT SOCIETY OF
         PENNSYLVANIA, and BRUCE MAPLEY SR.,

                   Defendants.
         _____________________________________________________

         WATCHTOWER BIBLE AND TRACT SOCIETY
         OF NEW YORK, INC.

                     Cross-Claimant,

         v.

         BRUCE MAPLEY SR.,

                   Cross-Claim Defendant.
         _____________________________________________________



                                    REMOTE VIDEOTAPED DEPOSITION OF

                                                        CAMILLIA MAPLEY


                                                      TAKEN ON
                 AEDT: WEDNESDAY, NOVEMBER 30, 2022; 5:12 A.M.
                   MST: TUESDAY, NOVEMBER 29, 2022; 11:12 A.M.


                                                WORKSPACES - LEVEL 5
                                                  171 COLLINS STREET
                                           MELBOURNE, 3000 AUSTRALIA
                     Camillia Mapley
     Case 1:20-cv-00052-SPW          FINAL November
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 1 there's two things going on.

 2       Q.     You can elaborate.

 3       A.     Well, it's Caekaert and Mapley.

 4       Q.     Okay?

 5       A.     So --

 6       Q.     When you --

 7       A.     -- what you're asking me is I can't recall

 8 every single instance that occurred.

 9       Q.     When your family joined the Hardin

10 Congregation, had Bruce Senior been sexually abusing

11 you for several years prior to that?

12       A.     Well, I don't recall, but I was a very

13 sexualized child, so I -- I don't recall.

14       Q.     What is the span of years over which you

15 claim Bruce Senior sexually abused you?

16       A.     Probably up until I was 14?               Yeah.

17       Q.     Would that have been approximately 1982?

18       A.     Yeah.

19       Q.     And when did the sexual abuse start?

20       A.     I don't know.

21       Q.     How many years do you think the sexual

22 abuse went on?

23       A.     Well, if I just said 14, that sort of

24 gives you an idea.

25       Q.     Is it your belief that Bruce Senior
                     Camillia Mapley
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 1 started sexually abusing you as soon as you were

 2 born?

 3              MR. SHAFFER:        Object to form.          Asked and

 4 answered.

 5 BY MR. SWEENEY:

 6         A.   Yes.

 7         Q.   Do you know if Bruce ever confessed to

 8 anybody that he sexually abused you?

 9         A.   Are you asking if he sat us down and

10 talked about abusing us?

11         Q.   We'll start there, so sure.

12         A.   Yes, then the answer is yes.

13         Q.   When did that happen?

14         A.   I don't know.         After Gunner Hain was found

15 out.

16         Q.   Can you give me an approximate year?

17              MR. SHAFFER:        Object to form.

18 BY MR. SWEENEY:

19         A.   '77?     '78?

20         Q.   You had been about nine or ten?

21         A.   Yes, sorry.        Sorry, I nodded.

22         Q.   And he -- who all did he sit down and

23 discuss this with?

24         A.   Himself, Shirley, Bruce Junior, Tracy and

25 myself.
